  8:05-cr-00212-LSC-FG3       Doc # 47     Filed: 08/30/05    Page 1 of 2 - Page ID # 150




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:05CR212
                                              )
              Plaintiff,                      )
                                              )                MEMORANDUM
              vs.                             )                 AND ORDER
                                              )
ALICE BUCKLER,                                )
                                              )
              Defendant.                      )


       This matter is before the Court on the Report and Recommendation (Filing No. 42)

issued by Magistrate Judge F.A. Gossett recommending denial of the Defendant’s motion

to suppress (Filing No. 30).       No objections have been filed to the Report and

Recommendation as allowed by 28 U.S.C. § 636(b)(1)(C) and NECrimR 57.3(a).

       The Defendant seeks an order suppressing the Defendant’s statements made to

federal and state law enforcement officers on June 1, 2005, arguing that the statements

were involuntary, coerced, and taken without Miranda warnings. Three statements are at

issue: initial statements made in a garage; statements made in a living room over a period

of about two minutes; and another statement made in the garage over a period of about two

minutes. Judge Gossett determined: the testimony of Investigator Haiar and Agent Crane

was credible; the Defendant’s testimony was not credible; Miranda warnings preceded the

initial statement made in the garage; the Defendant waived her Miranda rights; all

statements were custodial; and, under the totality of the circumstances, all three statements

were voluntary. Specifically, all three statements were made without coercion or threats,

and the Defendant was not intoxicated through ingestion of OxyContin.
  8:05-cr-00212-LSC-FG3         Doc # 47       Filed: 08/30/05   Page 2 of 2 - Page ID # 151




        Notwithstanding the absence of objections, pursuant to 28 U.S.C. § 636(b)(1)(C) and

NECrimR 57.3, the Court has conducted a de novo review of the record. The Court has

read the parties’ briefs (Filing Nos. 31, 36) and the transcript (Filing No. 45). The Court has

also viewed the evidence. (Filing No. 39) Because Judge Gossett fully, carefully, and

correctly applied the law to the facts, the Court adopts the Report and Recommendation in

its entirety.

        IT IS ORDERED:

        1.      The Magistrate Judge’s Report and Recommendation (Filing No. 42) is

                adopted in its entirety; and

        2.      The Defendant’s motion to suppress (Filing No. 30) is denied.

        DATED this 30th day of August, 2005.

                                                     BY THE COURT:

                                                     s/Laurie Smith Camp
                                                     United States District Judge




                                                 2
